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                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

                                      PORTLAND DIVISION



MERITAGE HOMEOWNERS'                                                Case No. 3:17-cv-00267-AA
ASSOCIATION,                                                          OPINION AND ORDER

               Plaintiff,

       v.

NICHOLAS LEE WATT and PATRICIA
MOUDY WATT,

               Defendants.


AIKEN, Judge:

       Plaintiff Meritage Homeowners' Association ("Meritage") filed this action against

defendants Nicholas Lee Watt and Patricia Moudy Watt ("the Watts"), asserting that the Watts

owe Meritage dues, assessments, interest, and related to a vacation property on the Oregon coast.

The Watts now move for summary judgment. For the reasons set forth below, the motion is

granted in part and denied in part.




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                                        BACKGROUND 1

       In 2006, the Watts took out a loan to purchase a second residence in Newport, Oregon

("the property"). The property, one of eighteen townhouse units within a planned community

known as Meritage at Little Creek, is subject to a series of covenants and restrictions ("CCRs")

enforced by Meritage. Pursuant to the CCRs, unit owners are responsible for maintenance and

repair of windows.   Comp!.~   14.

       In 2008 and 2009, Meritage and other interested parties filed a construction defect action

in state court, alleging defective installation of windows in all Meritage at Little Creek units

("the window litigation"). The defective windows caused substantial water damage to individual

units as well as to common areas of Meritage at Little Creek. In 2011, the Watts and ten other

Meritage at Little Creek owners sued Meritage in state comt ("the HOA litigation").          The

plaintiffs in the HOA litigation then intervened in the window litigation. Also in 2011, Meritage

sued the Watts and other unit owners in state comt for failure to pay assessments and charges

and for violating the CCRs ("the collection litigation"). Id.   ~   20.

       In 2012, the HOA litigation and the window litigation settled. After the settlement in the

HOA litigation, Meritage's insurance company refused to pay a claim for a po1tion ofMeritage's

attorney's fees. Meritage levied a special assessment to recoup those unreimbursed fees ("first

special assessment"). In accordance with the te1ms of the HOA litigation settlement agreement,

Meritage levied the first special assessment only against the plaintiffs in the HOA litigation




       1
      Unless otherwise noted, the facts are drawn from this Court's decision in lvieritage
Homeowners' Association v. Watt, 2017 WL 1364209 (D. Or. Apr. 11, 2017).
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rather than against all unit owners. 2 Also in 2012, the Watts defaulted on their loan payments.

Lender Bank New York Mellon ("BNYM") instituted foreclosure proceedings.

       In September 2013, Meritage approved a resolution imposing a fine of $500 per day, up

to $5,000 per month, against any unit owner that failed to repair the defective windows or

deposit the money necessary to begin the window replacement process. Id.      ~   19.

       In February 2014, Meritage obtained a stipulated judgment of $175,504 against the Watts

in the collection litigation. One month later, the Watts filed a petition for relief under Chapter 13

of the Bankruptcy Code. In June 2014, the Watts proposed a second amended Chapter 13 plan. 3

The second amended plan included the stipulated judgment from the collection litigation in its

list of debts. It also included a nonstandard provision purpo1iing to vest the property in BNYM

upon confirmation. BNYM objected to the second amended plan because it did not want to take

title to the prope1ty. BNYM found taking title objectionable, in pait, because it would make

BNYM responsible for ongoing obligations associated with the property-including dues and

assessments. Those obligations were substantial. Dues for the property exceed $15,000 per year

and, as noted, assessments for failure to replace the windows ran as high as $5,000 per month.

       In September 2014, the Lincoln County Circuit Comt ruled in a companion action to the

collection litigation that the first special assessment violated Oregon law because it had been

assessed against only a subset of unit owners without a dete1mination that those unit owners

were at fault.    In response to that decision, Meritage rescinded the first special assessment.


       2
         The summary judgment record contains a complaint in yet another state-court action in
which some Meritage at Little Creek unit owners argue that Meritage lacked legal authority to
levy the first special assessment. See Warren Deel. Ex. 6 June 20, 2017. Because the Watts
have not asserted any such challenge here, I assume, but do not decide, that the first special
assessment complied with the terms of the settlement agreement.
       3
           Meritage objected to the Watts' first two proposed plans.


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Meritage applied a credit in the amount of the first special assessment to the Watts' $175,504

stipulated-judgment debt, which was by then a pmi of the Watts' bankruptcy proceeding.

       During the fomih qumier of 2014, Meritage found that the Watts (and others) were at

fault with respect to the unreimbursed attorney's fees in the HOA litigation. It then levied a new

special assessment ("second special assessment") against the Watts in the amount of$26,316.25.

       On October 15, 2014, the bankruptcy court confirmed the plan over BNYM's objection,

and the property was transferred to BNYM.       BNYM appealed. On April 22, 2015, this Comi

vacated and remanded, holding that the bankruptcy comi lacked statutory authority to force an

objecting creditor to assume a debtor's interest in and ongoing liabilities associated with a piece

of property. Bank ofN. Y i\Iellon v. Watt, 2015 WL 1879680, *7 (D. Or. Apr. 22, 2015). 4

       On August 27, 2015, the property was reconveyed to BNYM through a sale under 11

U.S.C. § 363. The practical effect of this complex procedural history is that, after they filed for

bankruptcy, the Watts were the owners of the property for roughly eleven months. 5

       Meritage ceased attempts to collect the stipulated judgment from the Watts after they

filed for bankruptcy. However, throughout the bankruptcy process, Meritage has continued to

engage in collection activities against the Watts. Through those effo1is, including in this action,

Meritage seeks to collect three debts it asserts are post-petition obligations incurred during the

eleven months the Watts owned the prope1iy after filing for bankruptcy: unpaid post-petition

homeowners' association dues ("HOA dues"), unpaid post-petition assessments for failure to

replace the windows ("window fines"), and the second special assessment. Meritage sent the


       4
            The Watts' appeal of that decision is pending before the Ninth Circuit. See Bank ofN. Y
i\!Jel/on v. Watt, 9th Cir. Case No. 15-35484.
       5
         The Watts owned the property for one seven-month stretch (the period between the date
they filed for bankruptcy and the date the bankruptcy court confomed the plan) and one four-
month stretch (the period between the remand order and the§ 363 sale).
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Watts collection statements regarding those debts in August 2014, 6 November 2014, January

2016, and May 2016. Nicholas Watt Deel.~ 12.

       In June 2016, Meritage initiated this action as an adversary proceeding in bankruptcy

court. Meritage seeks a declaratory judgment endorsing its collection effo1is as "legitimate

efforts to enforce the Watts' obligations under the CCRs" and "an appropriate exercise of

Meritage's fiduciary obligation to assure unit owners comply with the CCRs." Comp!.      ii   45.

Meritage also seeks money damages, including attorney's fees, which it calculated to total

$124,969.03 as of the date the complaint was filed. Id   ~~   49-50.

       Pursuant to 28 U.S.C. § 157(d) and Local Rule 2100-4, Judge Dunn sua sponte issued a

repo1i and recommendation asking this Court to withdraw the reference with respect to the

adversary proceeding. Judge Dunn's recommendation rested on his determination that state law

issues predominate over bankruptcy issues in this case and on the relationship between

Meritagc's claims in this action and its claims against BNYM in another case already pending in

this Court. Judge Dunn also questioned whether the bankruptcy court had authority to adjudicate

Meritage's claims under recent Supreme Court precedent. The case was assigned to Judge

Hernandez, who adopted Judge Dunn's report and recommendation and withdrew the reference.

The case was then reassigned to me based on its close factual connection to 1\1eritage

Homeowners' Association v. The Bank ofNew York Mellon, Case No. 6: 16-cv-00300.

       Meritage had filed a motion for pmiial summary judgment in bankruptcy court. That

motion, which was fully briefed when Judge Hernandez withdrew the reference, sought summary

judgment with respect to the Watts' obligation to pay the second special assessment and unpaid




       6
         The August 2014 statement did not include the second special assessment, which was
not levied until later that year.
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dues. Meritage did not seek summary judgment with respect to the window assessments or

attorney's fees.

        On April 11, 2017, I denied Meritage's motion. I concluded that Meritage was not

entitled to summary judgment with respect to the second special assessment because that

assessment

       is simply the first special assessment in a new form. Because the Watts'
       obligation to pay both the first and second special assessments arose from the
       same pre-petition conduct, and because the Watts played no affirmative role in the
       post-petition events that required the first special assessment to be rescinded, the
       second special assessment is part of a debt "provided for by the plan" and subject
       to discharge under [11 U.S.C.] § 1328(a).

J\feritage Homeowners' Ass 'n, 2017 WL 1364209 at *5. I also concluded that the Watts were

liable for $7,422.96 in unpaid dues and associated interest. Id. at *6. However, I could not grant

summary judgment with respect to the unpaid dues because the Watts had made a pmiial

settlement payment of$14,969.79. Id.

       The Watts now move for summary judgment on all Meritage's claims. They also seek

sununary judgment on their first and third counterclaims, which allege violation of the

Bankruptcy Code's automatic stay and breach of the settlement agreements in the HOA litigation

and window litigation.

                                  STANDARD OF REVIEW

       Summary judgment is appropriate if "there is no genuine dispute as to any material fact

and the movant is entitled to judgment as a matter of law." Fed. R. Civ. P. 56(a). The moving

pmiy has the burden of establishing the absence of a genuine issue of material fact. Id.; Celotex

Corp. v. Catrett, 477 U.S. 317, 323 (1986). If the moving party shows the absence ofa genuine

issue of material fact, the nonmoving pmiy must go beyond the pleadings and identify facts

which show a genuine issue for trial.     Id. at 324.   "Sununary judgment is inappropriate if


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reasonable jurors, drawing all inferences in favor of the norunoving party, could return a verdict

in the norunoving party's favor." Diaz v. Eagle Produce Ltd. Partnership, 521 F.3d 1201, 1207

(9th Cir. 2008).

                                         DISCUSSION

I.     ,\feritage 's Claims

       The Watts first seek summary judgment with respect to Meritage's claims. In essence,

they contend that their maximum liability in this case could not possibly exceed the $14,969.79

payment they already made. To evaluate that argument, I must carefully examine Meritage's

allegations and revisit what was and was not decided in the prior summary judgment order.

       Meritage sought $124,969.03 in damages as of the date the complaint was filed in June

2016. 7 That number corresponds exactly to the amount Meritage stated was due in an April 2016

statement to the Watts. The statement breaks down the amount due as follows:

       Unpaid Dues                   Principal      $7,100.80
                                     Interest       $1,099.55

       Window Fines                  Principal      $25,000.00
                                     Interest       $12,994.72

       Special Assessment            Principal      $26,316.25
                                     Interest       $6,177.47

       Attorney's Fees (est.)                       $60,000.00

       Other Fees                                   $1,250.00

       Offset for Partial Payment                   ($14,969.76)

                                     TOTAL:         $124,969.03

Nicholas Watt Deel. Ex. 4 May 8, 2017.



       7
          Meritage alleges the amount of damages at issue in the case continues to grow because
of interest.
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       The prior summary judgment order decided two issues. First, it held that there is no

question of material fact that the Watts are liable to Meritage for $7,100.80 in unpaid dues and at

least $322.16 in interest on those dues. 8 1\1eritage Homeowners' Ass'n, 2017 WL 1364209 at *6.

Second, it held, as a matter of law, that Meritage cannot collect the second special assessment (or

any interest or fees attributable solely to that assessment) in this action. Id. at *5. Importantly,

the order did not decide any issues related to the window fines or attorney's fees. 9

       The Watts begin by arguing that the window fines, like the second special assessment, are

pre-petition debts subject to discharge. They contend that because the resolution authorizing the

window fines was adopted before they filed for bankruptcy, any fines assessed pursuant to that

resolution are pre-petition debts subject to discharge. I disagree, and hold that the post-petition

window fines are not dischargeable in the Watts' bankruptcy proceeding.




       8
         There remain questions of material fact as to whether the Watts owe additional interest
or fees on the unpaid dues.
       9
          The attorney's fees question remains open notwithstanding footnote four of the prior
opinion, which stated that "[i]t is possible that Meritage would be entitled to attorney's fees and
costs to the extent they (1) are attributable to efforts to collect the unpaid dues only and not the
second special assessment and (2) took place before the date of the settlement payment.
However, any such entitlement would be offset by the amount of the settlement payment that
exceeded the Watts' dues, interest, and fees obligation." lvferitage Homeowners' Ass 'n, 2017
WL 1364209 at *6 n.4. The footnote was intended only to provide fmiher explanation for why
Meritage was not entitled to summary judgment with respect to unpaid dues. It did not resolve
any substantive issues related to Meritage's right to attorney's fees.

        The footnote contains a clear error which I exercise my discretion to correct. Meritage
cannot collect any attorney's fees and costs attributable only to efforts to collect the second
special assessment. However, it remains possible that Meritage is entitled to attorney's fees for
collection activity aimed at both the second special assessment and some other debt (for
example, unpaid dues) that Meritage had a legal right to pursue. To the extent the prior summary
judgment opinion said otherwise, it is no longer law of the case. See United States v. Alexander,
106 F.3d 874, 876 (9th Cir. 1997) (enumerating exceptions to the law of the case doctrine).


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       The seminal case on the treatment of HOA dues in bankruptcy is In re Rosenfeld, 23 F.3d

833 (4th Cir. 1994). In that case, the Fourth Circuit faced a split of authority. Id. at 836. One

line of cases held that any obligation to pay post-petition HOA dues is a pre-petition debt subject

to discharge because such obligations arise from a pre-petition contract. Id. at 836-37. Another

line of cases held that post-petition HOA dues are not dischargeable where, under state law, the

obligation to pay such dues is "a function of owning the land with which the covenant runs." Id.

at 837. The Fomth Circuit adopted the reasoning of the second line of cases. That holding has

been adopted by both the Ninth Circuit Bankruptcy Appellate Panel, Foster, 435 B.R. at 658-59,

and this Court, BankofNY. lvfellon, 2015 WL 1879680 at *3.

       Here, there is no basis for treating the window fines differently from the HOA dues.

Meritage's authority to levy special assessments, like its authority to assess dues, arises from the

CCRs. Freitag Deel. Ex. 5 §§ 10.4 & 10.5 Feb. 8, 2017. Under Oregon law, both dues and other

types of assessments are ongoing obligations that run with the land. See Or. Rev. Stat. §

94.712(1) (drawing no distinction between dues and other assessments). And just as owners at

Meritage at Little Creek must pay dues for each month they own the property, they must pay

window fines for each day they fail to repair the windows, up to a monthly ceiling. Thus, any

HOA dues or window fines attributable to days before the date the Watts filed their bankruptcy

petition are pre-petition debts subject to discharge.     But any HOA dues or window fines

attributable to days after that filing date are post-petition debts and not part of the bankruptcy

proceeding.

        Treating the window fines like the HOA dues is fully consistent with my prior holding

that the second special assessment is a pre-petition debt subject to discharge. Unlike the window

fines and HOA dues Meritage seeks to collect from the Watts, the charges included in the second



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special assessment arose exclusively from pre-petition events: the HOA litigation and settlement

and the insurance company's denial ofMeritage's claim for attorney's fees.

       Substantial questions of fact remain regarding the Watts' liability for window fines,

attorney's fees, interest, and other fees. Accordingly, I deny the Watts' motion for summary

judgment on Meritage's claims.

II.    The Watts' Counterclaims

       The Watts also move for summary judgment on two of their counterclaims. They argue

that there is no question of material fact that Meritage's collection activities violated the

automatic stay and breached both the HOA litigation settlement agreement and the windows

litigation settlement agreement.

       A.      Violation of the Automatic Stay

       The Watts contend that when Meritage sent them collection statements and filed this

action after they filed for Chapter 13 bankruptcy, it violated the Bankruptcy Code's automatic

stay provision. When a debtor files for bankruptcy, the stay "suspends all activity relating to

collection of pre-filing debts, with a number of exceptions." In re Partida, 862 F.3d 909, 911

(9th Cir. 2017). The stay's purpose is "to give the debtor a breathing spell from his creditors by

stopping all collection efforts, all harassment, and all foreclosure actions." Id (quotation marks

omitted) (alterations normalized).   This allows the debtor "time to attempt a repayment or

reorganization plan, or simply to be relieved of the financial pressures that drove him into

bankruptcy." Id (quotation marks omitted).

       As relevant here, the automatic stay halts

       (1) the commencement or continuation, including the issuance or employment of
       process, of a judicial, administrative, or other action or proceeding against the
       debtor that was or could have been commenced before the commencement of the



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        case under this title, or to recover a claim against the debtor that arose before the
        commencement of the case under this title; [and]


        (6) any act to collect, assess, or recover a claim against the debtor that arose
        before the commencement of the case under this title[.]

11 U.S.C. §§ 362(a)(l) & (6). The statute further provides than "an individual injured by any

willful violation of a stay provided by this section shall recover actual damages, including costs

and attorneys' fees, and, in appropriate circumstances, may recover punitive damages." Id. §

362(k)(l).

       Meritage correctly observes that the prior summary judgment order did not explicitly

resolve whether the second special assessment was a "claim against the debtor that arose before

the commencement of the case" within the meaning of§ 362(a)(6). But here, whether the second

special assessment is subject to discharge under § 1328(a) (the question decided in the prior

summary judgment order) and whether the second special assessment arose before the

commencement of the Watts' bankruptcy proceeding (the question at issue in the present

summary judgment motion) are indistinguishable inquiries. 10          Because the first and second

special assessments are effectively the same debt, I hold that the second special assessment arose

before the commencement of the bankruptcy case. Meritage's attempts to collect the second

special assessment after the Watts filed for bankruptcy therefore violated the automatic stay.

The only remaining question is whether that violation was willful.

       The Ninth Circuit has long adhered to the same definition of willfulness in this context:


       10
          In support of its argument that the second special assessment arose after the Watts filed
their bankruptcy petition, Meritage reassetts the same arguments it made in its pattial summary
judgment motion. Meritage's reliance on the same authority in both briefs suggests that it agrees
that the analyses of whether a debt is subject to discharge under§ 1328(a) and whether a debt is
a "claim" that "arose before the commencement of the case" are, for present purposes,
indistinguishable. I carefully considered and rejected Meritage's arguments in the prior
summary judgment order, and see nothing in the text of§ 362(a)(6) that alters the analysis.
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        A "willful violation" does not require a specific intent to violate the automatic
        stay. Rather, the statute provides for damages upon a finding that the defendant
        knew of the automatic stay and that the defendant's actions which violated the
        stay were intentional. Whether the paiiy believes in good faith that it had a right
        to the prope11y is not relevant to whether the act was "willful" or whether
        compensation must be awai·ded.

In re Pinkstaff, 974 F.2d 113, 115 (9th Cir. 1992) (citing In re Bloom, 875 F.2d 224, 227 (9th

Cir. 1989)).     This definition of "willful"-requiring only knowledge of the stay and an

intentional, as distinct from accidental, attempt to collect a debt-admittedly imposes a stringent

standard on creditors. As the Ninth Circuit Bankruptcy Appellate Panel explained,

        [o]nee a creditor knows that the automatic stay exists, the creditor bears the risk
        of all intentional acts that violate the automatic stay regardless of whether the
        creditor means to violate the automatic stay. . . . The only solace for the creditor
        who winds up willfully violating the automatic stay without meaning to do so is
        that a good heart may figure in the assessment of ... damages. Sympathetic facts
        may be used to avert punitive damages and, in view of the trial judge's discretion
        over calculation of actual damage awards, may also figure into the calculus of
        actual damages.

In re Campion, 294 B.R. 313, 318 (9th Cir. B.A.P. 2003).

       Meritagc's post-petition conduct activities were "willful" within the meaning of §

362(k)(l). It is undisputed that Meritage knew about the Watts' bankruptcy filing and the

automatic stay. Notwithstanding that knowledge, it chose to pursue its claim for the second

special assessment after the Watts filed their Chapter 13 petition. Whether that claim was a pre-

petition debt subject to discharge or a recoverable post-petition debt was an open question under

the law of this circuit. In choosing to attempt to collect the second special assessment post-

petition, Meritage bore the risk of violating the automatic stay by attempting to collect a pre-

petition debt.

       I therefore grant the Watts' motion for summary judgment on their first counterclaim.




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        B.     Breach of the Settlement Agreements

       Next, the Watts argue that Meritage's collection activities violate the tenns of the

settlement agreements reached in the HOA litigation and the window litigation. Breach of a

settlement agreement is a contract law claim governed by state law. See United Commercial Ins.

Serv., Inc. v. Paymaster Corp., 962 F.2d 853, 856 (9th Cir. 1992) ("The construction and

enforcement of settlement agreements are governed by principles of local law which apply to

interpretation of contracts generally.") (citation and quotation marks omitted); cf 1\1atter of

Sparkman, 703 F.2d 1097, 1099 (9th Cir. 1983) ("When a bankrnptcy court adjudicates a

contract claim in connection with a petition in bankruptcy, the comt applies state law to the

contract dispute unless the bankruptcy code provides otherwise.") (citation omitted). Oregon

generally permits the contracting patties to choose which state's substantive law controls their

dispute. Or. Rev. Stat. § 15.350(1). Both agreements at issue here provide that they are to be

interpreted in accordance with Oregon law.

       In interpreting a contract, Oregon courts "seek to implement the intent of the parties to

the contract" by "consider[ing] the text of the contractual provision at issue in the context of the

contract as a whole." James v. Clackamas Cty., 299 P.3d 526, 532 (Or. 2003). If the meaning of

the text is clear, the analysis ends. Id. If the provision at issue is ambiguous, courts consider

extrinsic evidence of the contracting patties' intent. Yogman v. Parrott, 937 P.2d 1019, 1022

(Or. 1997). Finally, if evidence of the parties' intent does not resolve the ambiguity, cou1ts rely

on "appropriate maxims of construction" to reach a decision. Id.

               1.     HOA Litigation Settlement Agreement

       The Watts contend that Meritage's attempts to collect the second special assessment

breached the terms of the HOA litigation settlement agreement. In that agreement, Meritage



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agreed to "forever release Plaintiffs" from "any and all past, present, and future claims arising

from ... the allegations in the HOA litigation, including, but not limited to, claims for expenses,

costs, attorney's fees, and damages of any kind, nature, or basis whether the claims are known or

unknown, anticipated or unanticipated, presently existing or hereafter arising." Freitag Deel. Ex.

2 ~ 3 Feb. 8, 2017. The agreement also contained the following provision:

          Each Party acknowledges that the facts from which this Agreement arise are
          uncertain, and each Party assumes the risk that the damage alleged by Plaintiffs at
          The Meritage Planned Community may worsen in the future, that new or
          unforeseen damage may occur, new acts or decisions may be discovered or that
          construction defects and damage may not be as severe as alleged in the HOA
          Litigation. The agreements and amounts set forth in this Agreement and its
          exhibits shall not be subject to future modification or reallocation based on any
          subsequent information, discovery, award, verdict, or judgment in any proceeding
          or otherwise.

Id   ~   17. The Watts argue that when Meritage levied the second special assessment, it modified

the agreement based on a subsequent judgment in another case, thereby breaching the settlement
               11
agreement.

          The meaning of "future modification or reallocation" here is ambiguous.          I cannot

determine from the text of the agreement alone whether the parties intended to prevent Meritage

from rescinding an assessment contemplated by the agreement to address a technical problem

and then issuing a new assessment to recoup the same amount of money. That ambiguity is fatal

to the Watts' motion for summary judgment, because they do not make any arguments about



          11
           The Watts do not appear to argue that Meritage's attempts to collect unpaid dues,
window fines, or associated attorney's fees violate the terms of the agreement. That makes
sense, as the release section of the agreement specifically provides that Meritage "does not
release any claim against any party for any unpaid dues, fines, interest, assessments, or any other
obligation to the HOA." Freitag Deel. Ex. 2 ~ 3 Feb. 8, 2017. It further excludes from the
release "any claims against Plaintiffs for any prope1iy damage" which arose or may arise "as a
result of ... Plaintiffs' ... failure to maintain and/or replace windows in their units in Meritage."
Id.


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extrinsic evidence: they assett that the settlement agreement documents "speak for

themselves[.]" Defs.' Reply Supp. Mot. Summ. J. 6. They have, accordingly, failed to carry

their initial burden to show the absence of a genuine issue of material fact. 12 Summary judgment

must be denied.

               2.      Window Litigation Settlement Agreement

       The Watts also aver that Meritage breached the terms of the settlement agreement

reached in the windows litigation through its attempts to collect the window fines. Unlike the

HOA litigation settlement agreement, the windows litigation settlement agreement is

confidential. The patties submitted a copy of the agreement for my in camera review. I discuss

the terms of the agreement only to the extent necessary to resolve the Watts' summary judgment

motion.

       The Watts received a cash settlement in the windows litigation. Under the terms of the

windows litigation settlement agreement, all intervening unit owners promised that the

settlement proceeds would be paid to Dallas Glass, to be applied "exclusively to the cost of

repairs" of their units at Meritage at Little Creek. The agreement futther directs that the funds

paid to Dallas Glass "shall be used as a deposit on the contract and to purchase materials for use

in the repair of the Owners Units." The Watts stipulated to entry of judgment against them for

all outstanding dues, assessments, fines, penalties, and interest. Meritage, in tum, agreed to take

no action to collect on the potiions of that judgment attributable to window fines and "to impose

no fmther fines or interest related to repair and replacement of the windows so long as the funds

deposited with Dallas Glass on behalf of Watt remain on deposit with Dallas Glass



       12
          In addition, I note that the Watts appear to be attempting to have it both ways; having
benefited in the bankruptcy context from the treatment of the special assessments as the same
debt, they now seek to distinguish the two assessments for the purposes of their contract claim.
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unchallenged." The agreement also states that "[i]n the event any effort is made to recover the

funds from Dallas Glass or the funds are removed from Dallas Glass for any reason on any basis

other than HOA collection actions, the fines suspended under this agreement shall be

immediately imposed at $500.00 per day[.]"

       When the Watts filed their Chapter 13 petition, the stipulated judgment in the collection

litigation became part of the bankruptcy proceeding. Unable to collect on the judgment outside

the bankruptcy proceeding, Meritage garnished the funds on deposit with Dallas Glass to pay

part of the stipulated judgment. In response, the Watts filed amended schedules and a Chapter

13 plan, seeking to recover the garnished funds as a preferential transfer to be paid to their

unsecured creditors. Meritage then resumed assessing window fines.

        Having reviewed the settlement agreement, the summary judgment record, and the

parties' arguments, I conclude that no questions of material fact remain and that Meritage

breached the windows litigation settlement agreement when it garnished the funds on hold with

Dallas Glass. However, questions of material fact preclude me from deciding whether Meritage

breached the agreement when it began assessing new window fines after the Watts sought a

preferential transfer in the bankruptcy proceeding.

       Meritage's decision to garnish the funds on hold with Dallas Glass plainly violates the

provisions of the agreement stating that those funds would be used exclusively to repair the

defective windows. Meritage argues that garnishment of the Dallas Glass funds to satisfy the

collection judgment was "contemplated" and "authorized" by the agreement. Pl.'s Resp. Defs.'

Mot. Summ. J. 19. There are two references to "HOA collection actions" in the contract. Those

provisions provide that if there is any attempt to "recover" or "remove" the funds from Dallas

Glass other than HOA collection action, Meritage may begin assessing new window fines and



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may execute the judgment against the owner attempting to access the Dallas Glass funds.

Contrary to Meritage's representation, neither provision voids the agreement or authorizes it to

garnish the funds paid to Dallas Glass. It is plain from Meritage's briefing that it believes it was

unfairly denied the benefit of its bargain when the Watts filed for bankruptcy. But that belief

boils down to a policy disagreement with the Chapter 13 bankruptcy system or perhaps a moral

objection to the Watts' actions. Neither can justify Meritage's breach of the plain text of the

settlement agreement.

       I note, however, that questions of material fact remain regarding whether Meritage

breached the terms of the agreement when it assessed new window fines. Reasonable factfinders

could disagree over whether the Watts' pursuit of a preferential transfer in the bankruptcy

proceeding was an effort to recover or remove the funds from Dallas Glass, thereby justifying

Meritage's imposition of new window fines. The \Vatts are therefore entitled to partial summary

judgment on their third counterclaim.

                                          CONCLUSION

       The Watts' motion for summary judgment (doc. 35) is GRANTED with respect to their

first counterclaim, regarding violation of the automatic stay. The motion is GRANTED IN

PART and DENIED IN PART with respect to their third counterclaim, regarding breach of the

settlement agreements. Specifically, the Watts are entitled to summary judgment only on the

portion of that counterclaim that concerns Meritage's garnishment of the funds on hold with

Dallas Glass. Finally, the motion is DENIED with respect to Meritage's claims.




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     IT IS SO ORDERED.
                i :::s,J~
     Dated this_ . day of August 2017.




                                     Ann Aiken
                             United States District Judge




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